Case: 1:02-cv-02164 Document #: 1 Filed:'03/25/02 Page 1 of 3§8 Page|D #:1

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MlC
IN THE UNITED sTATES DISTRICT coURT mun HAEL W DGBB§NS

THE NoRTHERN DISTRICT 0F ILLINOIS, EASTERN DIV'ISio`N'STR§°"` COUHl'

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guest GEmEMAN" ilng

) §§§£;:?2 25
UNITED STATES OF AlV_[ERICA ) ZUU
ex rel. DERRICK SEARCY § MAGISTRATE JUDGE NOLAN
Petitioner, ) QGZ C
) Cas` 2c 1 6 4
v. )
)
MARK A. PIERSON, Warden, )
Hill Correctional Ceoter, ) Case Nurnber of State Court
) Conviction: 95-CR-15668
Respondent.

PETITION FOR WRIT OF I-IABEAS CORPUS
Narne and location of court Where conviction entered:

Circuit Court of Cook Cou.nty, lllinois (Judge .l ames M. Schreier)

2. Date of judgment of conviction:

May 28, 1998

Offenses of Which petitioner Was convicted (list all counts With indictment numbers, if
known):

First degree murder (in violation of 720 ILCS 5/9-l(a)(l))

Indictment No. 95-15668

4_ Sentence imposed:

42 Years

5 . What Was your plea?

Not Guilty

\/\

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PAR'I` I - TRIAL AND DIRECT REVIEW

l. What l<_ind of trial did you have?

Jury Triai

2. Did you testify at trial?
No

3. Did you appeal nom the conviction?
Yes

(A) If you appealed, give the following:
(1) Narne of court2
Appellate Court of ]]linois, First J udicial District, Third Division
(2) Result:
ludgrnent AfErmed
(3) Date of ruling:
August 2, 2000
(4) Issues raised:
(i) Dem`ck Searcy Was denied his Sixth and Fourteenth Amendment right to
confront the Witnesses against him When the trial court refused to allow cross-
examination of the State's key Witnesses-Clarence "Lakefi'ont" Johnson and
Michael "Country" Brooks_regarding their bias and motives to testify
falsely in order to implicate Mr. Searcy in the murder. The testimony of
Brooks and Johnson Was the only evidence linking Mr. Searcy to the murder

of the victim, Edward Bowman. Brooks and Johnson both testified that they
Witnessed Mr. Searcy murder Mr. Bonan.

4.

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Mr. Searcy'S Confrontation Clause rights Were violated When the court
precluded Mr. Searcy from presenting evidence or cross-examining Jchnson
or Brooks about the fact that the victim Was acting as an informant against
Brooks for the Ch_icago Police Department and from cross-examining either
witness about their membership in a street gang that was competing with the
victim in the local drug trade. The court erroneously barred the requested

` cross-examination despite the fact that Mr. Searcy established a substantial

predicate for the cross-examination, and erroneously required Mr. Searcy to
prove with certainty that Johnson or Brooks knew the victim Was acting as
an informant against Brooks as a precondition of cross-examination

(ii) The trial court's errors catalogued under (i), supra, violated Derrick
Searcy's rights under Illinois law to cross-examine adverse Witnesses and to
present evidence showing that other persons committed the crime with which
he was charged. They also denied Mr. Searcy a fair trial.

(iii) Derrick Searcy was deprived of a fair trial when the trial court admitted
misleading photographs of the crime scene into evidence after the jury had
retired for deliberation although the state had not laid a proper foundation for
the photographs

(iv) The trial court deprived Derrick Searcy of a fair trial and violated lllinois
law by refusing to allow Mr. Searcy‘s expert neurologist to testify unless he
prepared a report encompassing his proposed testimony and turned the report
over to the State within twenty-four hours.

(vi) 'l`he trial court deprived Derrick Searcy of a fair trial and violated Illinois
law when it permitted Johnson and Brooks to testify that they saw Mr. Searcy
in possession of two handguns en the morning of the crime, and that they saw
Mr. Searcy strike the victim with one of those guns.

(vi) 'l`he trial court denied Derrick Searcy a fair trial and violated Illinois law
When it erroneously admitted an alleged statement by Johnson to the victirn's
son that Mr. Searcy had killed the victirn.

Did you appeal, or seek leave to appeal, to the highest state court?

Yes

(A) lf yes, give the:

(l} Result:

5.

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(2)

(3)

Petition for Leave to Appea`l denied

Date of ruling:

November 29, 2000; People v. Searcy, No. 90179 (lll. Nov. 29, 2000).
Mandate to the Appellate Court of Illinois issued December 2l, 2000 `

lssues raised:

(i) Derrick Searcy was denied his Sixth and Fourteenth Amendment right to
con&ont the witnesses against him when the trial court refused to allow cross-
examination of the State's sole claimed eyewitnesses-Clarence "Lakefront"
Johnson and Michael "Country" Brooks_regarding their bias and motives
to testify falsely in order to implicate Mr. Searcy in the murder. The
testimony of Brooks and Johnsorr was the only evidence linking Mr. Searcy
to the murder of the victim, Edward Bowman. Brooks and Johnson both
testified that they witnessed Mr. Searcy murder Mr. Bowman

Mr. Searcy's Confrontation Clause rights were violated when the court
precluded Mr. Searcy from presenting evidence or cross-examining lohnson
or Brooks about the fact that the victim had been arrested and was acting as
an informant against Brooks for the Chicago Police Departrnent. The court
erroneously barred the requested cross-examination despite the fact that Mr.
Searcy established a substantial predicate for the cross-examination, and
erroneously required Mr. Searcy to prove with certainty that Jchnsorr or
Brooks knew the victim Was acting as an informant against Brocks as a
precondition of cross-examination.

(ii) the trial court's errors catalogued in (i), supra, also violated Mr. Searcy's
right under Article I, Section 8 of the lllinois Constitution to effectively
cross-examine the State's sole claimed eyewitnesses In addition, the
appellate court's decision affirming the trial court's limitation on cross-
examination conflicted With another decision of the Appellate Court of
lllinois.

(iii) the trial court's admission of staged prosecution photographs of the crime
scene which were taken years after the relevant time period and which Were
likely taken by the jury to rebut critical defense testimony was not harmless
error.

Did you petition the United States Supreme Court for a Writ of certiorari?

Yes

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If yes, give:
(A) date of petition:
February 22, 2001
03) date certiorari was denied:

March 26, 2001; Searcy v. lllinoz's, 532 U.S. 952 (2001)

PAR'I` II - COLLATERAL PROCEEDINGS

l.

With respect to this conviction or sentence, have you filed a post-conviction petition in state
court?

No

With respect to this conviction or sentence, have you filed a petition in state court using any
other form of post-conviction procedure, such as coram nobis or habeas corpus?

No

With respect to this conviction or sentence, have you filed a previous petition for habeas
corpus in federal eourt?

No

WI'I`H RESPECT TO THIS CONVICTION OR SENTENCE, ARE THERE ANY
LEGAL PROCEEDINGS PENDING IN ANY COURT, OTI-IER THAN 'I`HIS
PE'I`ITION?

No

PART III - PETITIONER'S CLA]l\/IS

l.

State briefly every ground on Which you claim that you are being held unlawfillly.
Summarize briefly the facts supporting each ground. lfyou fail to set forth all grounds in
this petition, you may be barred from presenting additional grounds later.

(A) Ground one:
Derrick Searcy was denied his Sixth and Fourteenth Amendment right to confront the

witnesses against him when the trial court refused to allow cross-examination of the State's
sole claimed eyewitnesses_Clarence "Lakefront" Johnson and Michael "Country"

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Brooks_regarding their bias and motives to testify falsely in order to implicate Mr. Searcy
in the murder. The testimony of Brooks and Johnson was the only evidence linking Mr.
Searcy to the murder of the victim, Edward Bowman. Brooks and Johnson both testified that
they witnessed Mr. Searcy murder Mr. Bowman.

Mr. Searcy's Confrontation Clause rights were violated when the court precluded Mr. Searcy
from presenting evidence or cross-examining Johnson or Brooks about the fact that the
victim had been arrested and was acting as an informant against Brooks for the Chicago
Police Department. The court erroneously barred the requested cross-examination despite
the fact that Mr. Searcy established a substantial predicate for the cross-examination, and
erroneously required Mr. Searcy to prove with certainty that Johnson or Brooks knew about
the victim's informing against Brooks as a precondition of cross-examination

On the first day oftrial, the state moved in limine to prevent Mr. Searcy from informing the
jury that the victim had been arrested for cocaine possession three months before the murder,
and that the victim had agreed to be an informant for the arresting officer and was Working
out a deal With the ofncer under which the victim would act as an informant to implicate
Brooks in drug dealings. The defense argued that it should be allowed to bring out this
information to support its theory that Brooks murdered the victim and that Brooks and
Johnson were naming Mr. Searcy. As an offer of proof, defense counsel submitted awritten
eyewitness statement from Tonita Mills stating that she saw Brooks murder the victim and
saw Johnson drive the getaway car. The defense also proffered testimony from the officer -
who had arrested the victim confirmingthat the victim was acting as an informant against
Brooks at the time of his murder. (The officer's testimony was later submitted to the court
in the form of a sworn affidavit.)

After opening statements, during arecess in the State's case, the trial court granted the State's
motion. The court reasoned that Ms. Mills did not state that she heard Brooks tell the victim
that he knew the victim had become a police informant when she saw Brooks murder him,
and that it “presumed" that the arresting officer would not have revealed the victim's
informant status to anyone, particularly Brooks. The court concluded that defense counsel
could cross-examine Brooks and Johnson only if they could prove that Brooks or Johnson
knew that the victim had been informing against Brooks. The defense objected that, because
the victim implicated Brooks as a drug dealer in the presence of the arresting officer and
Johnson's neighbor, Clinton Boyd, the court could not presume that Johnson and Brooks did
not know about the victim's informant activities The trial court required defense counsel to
voir dire Brooks and Johnson outside of the jury’s presence, and concluded that it would
allow the defense to go into the matter before the jury only if Brooks or Johnson admitted
on voir dire that they knew the victim was informing on Brooks.

Johnson admitted on voir dire that Clinton Boyd was his neighbor and that they had
conversations in the months between the victim's arrest and his murder, but he denied
discussing the victim's informant activities with Boyd. Brooks also denied knowing that the
victim had become an informant against him at the time of the murder, and denied selling

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drugs. Brooks became highly agitated during voir dire, prompting the judge to caution him
to "restrain yourself" and to "[r]emain caim" when answering the questions Unsatisfied by
Brooks' and lohrrson’s limited admissions during voir dire, the court barred the defense from
cross-examining either witness before the jury regarding the victim's arrest and informant
activities against Brooks.

The lllinois Appellate Court's affirmance of the trial court’s ruling on these issues is contrary
to the holding inAlforcl v. Unitecl States, 282 U.S. 687 (1931), which provides that the right
to conduct otherwise appropriate cross-examination cannot be conditioned upon proof in
advance of what the cross-examination would establish. The appellate court's holding is also
contrary to and/or an unreasonable application of the holdings of Dovis v. Alaska, 415 U.S.
308 (1974),Delaware v. Van Arsdall, 475 U.S. 673 (1986), and Olden v. Kenincky, 488 U.S.

227 (1988), which hold that a trial court cannot completely preclude a defendant from cross-
examining a critical prosecution witness regarding a prototypical form of bias.

2. Have all grounds raised in this petition been presented to the highest court having
jurisdiction?
Yes

PART IV - REPRESEN'I`ATION

Give the name and address, if known, of each attorney who represented you in the following stages
of the judgment attacked herein:

(A) At preliminary hearing:
Wilma Scharrer, Jacqueline Ross, Assistant Public Def`enders
(B) At arraignment and plea:

Charles G. Murphy, 542 S. Dearborn St., Chicago, IL., Robert Gevirtz, Gevirtz &
Born, 181 Waukegan Rd., Suite 306, Northfield, ]L. 60093

(C) At trial:

Eric A. Sacks, John F. Ward, Jr., Je`nner & Block, One IBM Plaza, Chicago, ll_. 60611
(D) At sentencing:

Eric A. Sacks, .lohn F. Ward, Jr., Jenner & Block, One IBM Plaza, Chicago, IL 60611

(E) On appeal:

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R. Douglas Rees, Kathleerr M. Banar, John R. Harrirrgton, Jenner & Block, One IBM
Plaza, Chicago, IL 60611

PART V - FUTURE SENTENCE
Do you have any future sentence to serve following the sentence to be imposed by this conviction?

l No.

WHEREFORE, petitioner prays that the Court issue a Writ of habeas corpus to have the
petitioner brought before it to the end that he may be discharged from his unconstitutional
confmement and restraint Petitioner also asks the Court to grant any other relief to which he may
be entitled in this proceeding, and to dispose of the matter as law and justice require.

Signedon: /+//Za,acé al/i JOO¢>Z % l 4-/,?~,
John F. ’wai~d, Jr’.
lohn R. Harrington
Steven J. Winger
IENNER & BLOCK, LLC
One IBM Plaza
Chicago, lllinois 60611
(312) 222-935 0
Counsel for Petitioner

I declare under penalty of perjury that the foregoing is true and correct.
mariava §¢»»Mi
Petitioner \J

l<c§ova

 

 

 

(l.D. Nurnber)
W[`L L w o C+R,
(Address)

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F I L E ‘
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IN THE UNITED S’I`ATES DISTRICT COURT FOR
THE NoRTHERN DISTRICT or ILLINors, EAsTERN DIvrsIONlltaR 2 5 2093

 

m ._`MICHAEL W. DOBBINS`
ven , . . iSTRlCT COURT

          

 

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ex rel. DERRICK SEARCY, ) MA
) _ v R 2 6 2002
Petitioner, ) ` § §
v. ) Case No. _
)
MARKA. PIERSON, Warden, ) ORAL ARGUi\/IENT REOUESTED
I-lrll Correctronal Center, )` n -mqf_, FEW §§ ,_,}
) §;.‘;t_'j:-§Z nat limits ti's__
)

Respondent.

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MEMORANDUM OF LAW IN SUPPORT OF
PETITION FOR A WR_IT OF HABEAS CORPUS

 

lohn F. Ward, lr.

iohn R. l-Iarrington

Steven J. Winger
.TENNER & BLOCK, LLC
One [BM Plaza

Chicago, illinois 60611
(312) 222-93 50

Connsel for Petiiioner

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INTRODUCTION

Derricl< Searcy Was convicted of first degree murder in a jury trial for the murder of
Edward Bowman and Was sentenced to 42 years in prison. (EX. 1.)g Mr. Searcy has always
maintained his innocence During the trial, the State produced no physical evidence linking Mr.
Searcy to the crime. The State's case against Mr. Searcy rested entirely upon the testimony of two
purported eyewimesseswl\/Iichael "Country" Brooks and Clarence "Lakef`ront" Johnson, Who
claimed to see Mr. Searcy shoot Mr. Bowman after an altercation

The defense's theory Was that Brooks murdered Mr. Bowman With Johnson's
assistance In support of this theory, the defense presented the eyewitness testimony of Tonita Mills.
(EX. 2.) Ms. Mills testified that she Witnessed Brooks murder Mr. Bonan and Johnson drive the
getaway car. (Id. at A~255-59.)

To firrther support its theory, the defense sought to present evidence that Mr. Bowman
had been Working as a police informant against Brooks at the time he Was murdered, and to cross-
examine Brooks and Johnson in front of the jury regarding their knowledge of Mr. Bowrnan's
informant activities This proposed cross-examination Was predicated on Ms. Mills’ testimony and
on the testimony of a Chicago Police Officer Who arrested Mr. Bowman on a narcotics charge
approximately three months before his murder. (EX. 3.) The defense proffered the officer's
testimony that during the arrest Mr. Bowman told the officer that Brooks Was a drug dealer, and
suggested that the officer should arrest Brooks. (EX. 3 at 2.) Mr. Bowman made these statements
in the presence of Clinton Boyd, Who Was Johnson's neighbor. (Id.) At the time of his death,

Mr. Bowman Was negotiating a deal With the Chicago Police to inform on Brooks. (Id.)

 

1 Citations to the exhibits in the Petitioner’s Appendix submitted With this brief are shown

as (EX. _.)
_1_

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Despite both the strength oer. Searcy's proffer and the centrality of Brooks‘ and
Johnson's testimony to the State's case, the trial court barred Mr. Searcy’s counsel from questioning
either Brooks or Johnson in front of the jury regarding his knowledge of Mr. Bowtnan's arrest and
his offer to begin working as an informant against Brooks. (Ex. 4 at 80-88.) After requiring Mr.
Searcy's attorneys to pose these questions to Brooks and Johnson during separate voir dires
conducted outside of the jury's presence the trial court completely foreclosed all inquiry before the
jury into these matters The court denied Mr. Searcy's requested cross-examination solely because
Brooks and Johnson denied during voir dire that they knew about Mr. Bowman's arrest and
informant activities. (Id. at 84-85, 96, 99, Ex. 14 at A-15.)

The Appellate Court of Illinois upheld the trial court's decision. Explaining its
holding, the court merely noted that a trial court has,the discretion to exclude testimony under cross-
examination if it is "remote, uncertain or conj ectura ." (Ex. 5 at 16.) Based on Brooks' and
Johnson's denials during voir dire, the court concluded that "it was conjectural whether Brooks or
Johnson knew what Mr. Bowman had stated to the police or that he was becoming an informant."
(Id. at 17.) Under these circumstances the court held that the trial court did not err by precluding
the cross-examination sought by Mr. Searcy. (Id. at 17, 27.)

fn so holding, the Appellate Court ofIllinois reached a decision that was both contrary
to and involved an unreasonable application of the Supreme Court's Confrontation Clause
jurisprudence By refusing to permit Mr. Searcy to question key prosecution Witnesses concerning
their bias and motive to testify falsely unless the witnesses first admitted to certain facts during voir
dire which Would confu'm the defense's theory, the trial court directly contradicted the rule of law
established by Alford v. United Sraies, 282 U.S. 687 (1931). The illinois Appellate Court's

affirmance of the trial court's procedure is therefore contrary to clearly established federal law.

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Moreover, by precluding all inquiry into the potential bias of critical prosecution
witnesses, the trial court violated Mr. Searcy's Conf`tontation Clause rights as determined by Davis
v. Alaska, 415 U.S. 308 (1974-], Delaware v. ch Arsdall, 475 U.S. 673 (1986), and Olden v.
Kentucky, 488 U.S. 227 (1988). In affirming the trial court's decision, the Appellate Court of lllinois
contradicted or unreasonably applied governing federal law as clearly established by Davis, Vaii
Arsdall, and Olden. ln addition, the erroneous and unconstitutional limitations placed upon Mr.
Searcy's cross-examination of the State's star Witnesses cannot be considered harmless For these
reasons, Mr. Searcy is entitled to habeas relief.

STATEl\/[ENT OF FAC'I`S

Edward Bowman was found shot to death on June 6, 1994 in an alley between
Superior and I-Iuron Streets on the west side of Chicago, carrying 81,5 74 in cash, mostly in small
bills, and apager. (Ex. 6 at W-54; Ex. 7 at A~128-30.) He had been shot six times in the head. (Ex.
s at x-13.)

At trial, the State presented no physical evidence to link Mr. Searcy to the crime -
the State did not recover the murder weapon, did not find any fingerprint evidence any fiber
evidence or any other tangible evidence linking Mr. Searcy to the murder. The State's only evidence
linking Mr. Searcy to Mr. Bowman's murder was the testimony of Brooks and Johnson. Brooks and
Johnson testified that they Witnessed an altercation between Mr. Searcy and Mr. Bowman and the
subsequent shooting. (Ex. 9 at X-138-3 9; Ex. 10 at A-45-46, A-80.) Although the police questioned
them soon aher the incident, Brooks and Johnson did not accuse Mr. Searcy of the shooting until
almost one year later, when Mr. Searcy was in police custody on an unrelated matter. (Ex. 9 at X-

144, X-150-51; Ex. 10 at A-51-52.)

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Moreover, the physical evidence that was presented at trial contradicted Brooks' and
lohnson's testimony. For example Johnson testified that, a few hours before the murder, he saw
Mr. Searcy strike Mr. Bowman on the left side of his head while holding a gun in his hand. (Ex. 9
at X-l 13-14.) However, the forensic pathologist who performed the autopsy on Mr. Bowman found
no evidence that Mr. Bowman had received such a blow to the head. (Ex. 8 at X-66-69.) In
addition Brooks testified that he was "positive" that Mr. Bowman spoke to him as he lay dying in
the alley. (Ex. 10 at A-80-81.) However, both the State's forensic pathologist and the physician
called by the defense testified that one oer. Bowman's gunshot wounds had lacerated his brainstem
and killed him instantly. (Ex. 8 at X-31-32; Ex. 11 at 70-71.)

The defense's theory was that Brooks and Johnson murdered Mr. Bowman and falsely
accused Mr. Searcy to shift suspicion away from themselves To support thistheory, the defense
sought to present evidence and to cross-examine Brooks and Johnson about the fact that Mr.
Bowman had become a police informant against Brooks at the time he was murdered Immediately '
before trial, however, the State moved in limine to prevent the defense from presenting evidence or
cross-examining Brooks and Johnson regarding Mr. Bowman's becoming an informant against
Brooks (Ex. 4 at W-22-23.)

Defense counsel produced a substantial factual predicate for this line of cross-
examination Defense counsel proffered the testimony of Chicago Police Officer Donald
Washington. CEX. 3.) lust three months before his murder, Officer Washington arrested Mr.
Bowman on a narcotics charge Mr. Bowman declared "you've got the wrong guy" when he was
airested, and told Officer Washington that he should instead arrest Brooks, who "sold drugs in the
same neighborhood." (Ici. at 2.) Johnson’s neighbor Clinton Boyd was in the same apartment when

Mr. Bowman implicated Brooks, and was close enough to have heard the accusation (Id.) ln the

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weeks before his murder, Mr. Bowman was attempting to work out a deal with the police to
implicate Brooks for narcotics trafficking, but "was killed before the terms of any final deal . . . had
been arranged." (Id.)

Defense counsel also proffered Tonita Mills' testimony. (Ex. 4 at X-76-80, Ex. 12.)
Ms. Mills Stated that she repeatedly had purchased narcotics from Brooks and Johnson in the
neighborhood (Ex. 2 at A-254-55, 25 9.) She also implicated Brooks and Johnson in Mr. Bowman's
murder. In a statement proffered by defense counsel and in her subsequent testimony, Mills
maintained that on lune 6, 1994 she had seen Brooks in an argument with an "older black man" in
the alleybetween Superior and Huron Streets. (Ex. 12 at C-262-63; Ex. 2 at A-253-55.) Mills stated
that as she turned to walk away she heard several gunshots. (Ex. 2 at A-257-58.) lmmediately
afterward, she saw Johnson driving the wrong direction up Huron Street (a one-way street) toward
the alley in a black sports utility vehicle (Ex. 2 at A-259.)

' Despite this proffer, the trial court ruled that the defense could not cross-examine

Brooks and Johnson about their motive to kill Mr. Bowman unless the defense could prove in
advance that they knew that Mr. Bowman was a police informant (Ex. 4 at X-96-97; Ex. 14 at A-
15.) The court explained:

I'll let you ask, in a voir dire way, outside the presence of the jury,

Brooks [and lohnson], . . . did you know that Bowman was informing

on you. And if he says yes, 1 did know, then I'll let you get into it

before the jury, and l'll let it come out. (Ex. 4 at X-84-85.)

The defense objected to such a high standard, reasoning, "I don‘t think We can trust
[these witnesses] to give us an accurate answer in this case, your Honor." (Id. at X-88.) Defense
counsel urged that "we're entitled to inference that the jury can make that decision" (Io'.) The court

rejected the argument (Ici_)

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Not surprisingly, in voir dire examinations conducted outside the jury's presence,
Brooks and Johnson refused to admit that they knew that Mr. Bowman was acting as an informant
Johnson denied speaking with Boyd about Mr. Bowman's arrest or his informant activities (Ex. 13
at X-103-04) and denied knowing that Mr. Bowman sold drugs (Id. at X-103). Brooks denied
knowing that Mr. Bowman had become an informant for the police against him and denied selling
drugs (Ex. 14 at A-9-l 1.)

Some of Brooks' and Johnson's responses during voir dire confirmed the defense's
theory that Brooks and Johnson could have known that Mr. Bowman was informing against Brooks,
and therefore had a motive to kill him and to testify falsely. For example Johnson admitted that he
knew Mr. Bowman, the murder victim, and that he knew Boyd, the man who was present in the
apartment when Mr. Bowman implicated Brooks in drug dealing (EX. 13 at X-102-03.) Johnson
also admitted that Boyd was his neighbor and that they had spoken during the months between Mr.
Bowman's arrest and his murder in lune 1994. (Id. at X-104-05.)

Brooks likewise admitted that he knew Mr. Bowman. (Ex. 14 at A-9.) Moreover,
Brooks' demeanor while responding to defense counsel's questions lent credence to the defense's
theory, and might well have influenced the jury had the jury been allowed to observe it. Apparently
shaken by questioning regarding his knowledge that Mr. Bowman had become an informant against
him, Brooks became flustered during voir dire. The transcript reveals Brooks' agitated
demeanor_the judge had to instruct Brooks to "restrain yourself" and "[r]emain calm" when
answering defense counsel's questions (Id. at A-lO.)

Nonetheless, the trial court was not satisfied with the factual predicate that defense
counsel had established, or the prosecution witnesses' limited admissions in voir dire. in the trial

court's view, the defense was "unable to prove that Brooks or Country knew that the victim Mr.

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Bowman was informing on him," and therefore denied the defenses request to cross-examine Brooks
and Johnson regarding Mr. Bowman's informant activities or to introduce evidence that Mr. Bowman
had become an informant against Brooks (Ex. 4 at X-84, 96, 99; Ex. 14 at A-15.)

As a result of the trial court's ruling, Mr. Searcy was barred from cross-examining
Brooks and Johnson about their potential motive to kill Mr. Bowman. Mr. Searcy's defense _ that
Brooks and Johnson killed Mr. Bowman, as Mills had testified, and were falsely accusing Mr. Searcy
to shield themselves - was severely hobbled by the restrictions placed on the witnesses' cross-
examination Mr. Searcy was left without any factual basis from which to argue that lohnson's or
Brooks‘ testimony was biased

fn its closing arguments the prosecution took full advantage of the trial court's

exclusionary ruling to attack Mills‘ testimony and bolster Brooks' and Johnson's credibility:

You folks should be insulted and offended that [Mills' testimony is]

the best they cort do to support their theory. . . . And how does [Mills'

story] support their theory? Where is Country and Lakeji"orii’s

motive? We have all these little shadowy insinuations all these

speculations about drugs . . . How does that tie into Country and

Lakefront? They want you to believe Country and Lakefront were

killers, all over some dope things Ihere is rio evidence folks
(Ex. 15 at AA-147-48.) (emphasis added.) Brooks and Johnson, the prosecution argued, were "two
of the mo st credible people that will ever come into a courtroom" and Were "heroes." (Ex. 15 at AA-
122, 167.) The jury then convicted Mr. Searcy.

On appeal, Mr. Searcy argued that his conviction should be reversed because the trial
court violated his right to cross-examination under the Confrontation Clause of the Sixth
Amendment. (Ex. 16 at 23-28.) The Appellate Court of illinois affirmed, upholding the trial court's

ruling that the defense could not cross-examine Brooks or Johnson about Mr. Bowman's informant

activities unless Brooks and Johnson first admitted, in voir dire outside the jury's presence that they

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knew Mr. Bowman had become an informant Citing only an Illinois state case, the appellate court
ruled that "testimony under cross-examination may be excluded as irrelevant if it is remote, uncertain
or conjectural." (Ex. 5 at 16.) The court concluded that, given the defense‘s proffer and Brooks' and
Johnson's responses during voir dire, "it was conjectural whether Brooks or Johnson knew what Mr.
Bowman stated to the police or that he was becoming an informant," and held that "[w]ithout such
evidence it was not error to refuse to allow defendant to present the police officer's testimony or to
cross-examine Brooks or Johnson on these matters." (Id. at 17.)

Mr. Searcy again raised his Confrontation Clause claim in a petition for leave to
appeal to the lllinois Supreme Court. (Ex. 17 at 12-17.) On November 29, 2000, the Illinois
Supreme Court denied Mr. Searcy's petition for leave to appeal. (Ex. 18.) hrlr. Searcy also raised
his Confrontation Clause claim to the United States Supreme Court in apetition for certiorari, which
was denied on March 26, 2001. (Ex. 19.)

STANDARD OF REVIEW

Mr. Searcy's petition is governed by the standards established by28 U.S.C. § 2254(d),
as amended by the Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA"). Those
standards provide, in relevant part, that an application for a writ of habeas corpus on behalf of a
person in custody pursuant to the judgment of a state court shall be granted when "the adjudication
of the claim . . . resulted in a decision that was contrary to, or involved an unreasonable application
of, clearly established Federal law, as determined by the Supreme Court of the United States." 28
U.S.C. § 2254(d)(1). A state court decision is "contrary to" clearly established Supreme Court
precedent if the state court "applies a rule that contradicts the governing law set forth in [Supreme
Court] cases,“ or "confronts a set of facts that are materially indistinguishable from a decision of[the

Supreme] Court and nevertheless arrives at a result different from [Supreme Court] precedent."

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Williams v. Taylor, 529 U.S. 362, 405-06 (200{)). A state court decision involves an "unreasonable
application" of clearly established federal law if the state court identifies the correct governing legal
rule ii'om Supreme Court precedent but unreasonably applies that rule to the particular facts of the
prisoners case, or if the state court "either unreasonably extends a legal principle from [Supreme
Court] precedent to a new context where it should not apply or unreasonably refuses to extend that
principle to a new context where it should apply." Id. at 407. Only U.S. Supreme Court cases
constitute the source of "clearly established federal law" as contemplated by Section 2254(d)( l ). See
Wiliiams, 529 U.S. at 412.

Federal courts review state court decisions de novo to determine "What is clearly
established law as determined by the Supreme Court and whether the state court's decision is
'contrary to' that precedent." Denny v. Gucimanson, 252 F.Bd 896, 900 (7th Cir. 2001). When
analyzing a state court decision under the "unreasonable application" provision of § 2254(d)(1), the
court defers to reasonable state court applications of governing federal law. See id. ; Dixon v. Snyder,
266 F.3d 693, 700 (7th Cir. 2001). The court must issue a writ of habeas corpus if it finds that the
state court decision is incorrect and objectively unreasonable under governing Supreme Court
precedent Wiliiams, 529 U.S. at 411; Dixon, 266 F.3d at 700.

ARGUMENT

This court should grant Mr. Search petition for habeas corpus for two reasons. First,
by affirming the trial court's refusal to allow Mr. Searcy to cross-examine Brooks and Johnson
regarding their knowledge of Mr. Bowman's arrest or informant activities unless Brooks or Johnson
first admitted such knowledge during voir dire, the Appellate Court oflllinois applied a rule that is

directly contrary to Alford. Aiford squarely holds that a defendant must be allowed to conduct

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exploratory cross-examination of an adverse witness, even if the defendant cannot prove in advance
exactly what answers the witness will provide.

Second, by affirming the trial court's decision to preclude Mr. Searcy completely from
cross-examining critical State witnesses regarding a plausible source of bias, the Appellate Court of
lllinois applied a rule that is an unreasonable application of governing federal law, as clearly
established byDavis, Van Arsciall, and Olden. As noted, the Appellate Court of lllinois affirmed the
trial court's refusal to allow the proposed cross-examination on the ground that it was "speculative"
or "conjectural." Its decision cannot be reconciled with the holdings of Davis, Van Arsdall, and
Olden, which provide that a trial court's discretion to limit "marginally relevan " cross-examination
cannot be extended to justify the total preclusion of cross-examination into the bias of critical State
witnesses under circumstances like those presented here.

Due to the unconstitutional restrictions placed upon his cross-examination, Mr.
Searcy was prevented from effectively impeaching the State's star witnesses against him, and from
making an adequate record before the jury to support his theory of defense. Given the pivotal nature
of Brooks' and Johnson's testimony, and the strong likelihood that the proposed cross-examination
would have substantially diminished the State's case, the violation of Mr. Searcy's Confrontation

Clause rights was not harmless For all of these reasons, Mr. Searcy is entitled to habeas relief.

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I. REQUIRING MR. SEARCY TO SHOW THAT THE CHIEF WITNESSES AGAINST
HIM WOULD ADMIT TO FACTS DISCREDITING THEIR TESTIMONY AS A
PRECONDITION OF CROSS-EXAMINING THEM ABOUT THOSE FACTS
DIRECTLY CONTRADICTS THE RULE ESTABLISHE]) IN ALFORD v. UNITED
STA TES.

The Confrontation Clause protects defendants' right to an effective cross-examination
of witnesses against them.2 See Kentucky v. Srincer, 482 U.S. 730, 736 (1987) (emphasizing that
cross-examination is "a primary interes " protected by the Confrontation Clause) (quotation omitted);
Davis v. Alaska, 415 U.S. 308, 315-16 (1974) ("The main and essential purpose of confrontation is
to secure for the opponentthe opportunity ofcross-examination") (quotation omitted). The right to
effective cross-examination is integral to the adversary system and the reliable determination of truth
in a criminal proceeding See Maij)land v. Craig, 497 U.S. 836, 845 (1990) ("The central concern
of the Confrontation `Clause is to ensure the reliability of the evidence against a criminal defendant
by subjecting it to rigorous testing in the context of an adversary proceeding before the trier of
fact."). Stincer, 482 U.S. at 736 ("cross-examination is the 'greatest legal engine ever invented for
the discovery of truth"') (quotation omitted).

The Supreme Court has recognized that constitutionally effective cross-examination
involves more than the ability to test a witness’ perceptions and memory, but also requires the ability
to ask questions designed to expose "a witness' motivation in testifying," Davis, 415 U.S at 316-17,
and to "draw out discrediting demeanor to be viewed by the factfinder," Ohio v. Roberts, 448 U.S.
56, 63 n.6 (1980); See also Mariox v. UnitedSrateS, 156 U.S. 237, 242-43 (1895) (crOSs-examination

affords the jury an opportunity to "judge by [the witness's] demeanor upon the stand and the manner

in which he gives his testimony whether he is Worthy ofbelief."). Witness bias should be "subj ect

 

z The Confrontation Clause has been held to be incorporated into the Fourteenth Amendment
and therefore applicable to the states. Poinrer v. Texas, 380 U.S. 400, 403 (1965).

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to exploration at tria " because it "is 'always relevant as discrediting the witness and affecting the
weight of his testimony."' Davis, 415 U.S. at 316 (quotation omitted).

ln Alford, the Supreme Court held that the right to conduct otherwise appropriate
cross-examination cannot be conditioned upon proof in advance of what the cross-examination
would establish 282 U.S. at 692.3 The defendant in Alford sought to cross-examine a government
witness concerning his current residence because, inter alia, defense counsel had "reason to believe"
that the witness was currently "in the custody of the Federal authorities," and counsel wanted to bring
that information out "for the purpose of showing whatever [pro-prosecution] bias or prejudice [the
witness] may have." Id. at 689. The trial court sustained an objection by the government and barred
defense counsel from asking the witness where he currently lived. The Court of Appeals for the
Ninth Circuit affirmed, reasoning that defense counsel had failed to articulate an appropriate purpose
for the proposed cross-examination: ("counsel for the appellant desired to discredit the witness,
without . . . in any way connecting the expected answer with a matter on trial . . . [C]ounsel . . .
indicated that the proposed question was merely in pursuit of a fishing exp edition by which he hoped
to discredit the witness." Id. at 691 .)

The Supreme Court reversed. The Court noted that one ofthe permissible purposes
of cross-examination is to bring out facts "tending to discredit the witness by showing that his
testimony in chief was untrue or biased-" Id. at 692. The Court held that a defendant had the right

to pose exploratory questions to a witness, and it squarely rejected the claim that otherwise

 

3 Although Alforci did not expressly rely on the Confrontation Clause, the Supreme Court
has stated that "the constitutional dimension of our holding in Alfor¢i is not in doubt." Davis, 415
U.S. at 318 n.6 (1974). See also Smirh v. Illinois, 390 U.S. 129, 132-33 (1968) (relying on Alforci
in holding that a particular limit upon the scope of cross-examination violated a defendant's
Confrontation Clause rights).

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appropriate cross-examination may be precluded on the ground that the defense counsel cannot
identify in advance what answers the proposed cross-examination will yield:

Counsel often cannot know in advance what pertinent facts may be

elicited on cross-examination For that reason it is necessarily

exploratory; and the rule that the examiner must indicate the purpose

of his inquiry does not, in general, apply. lt is the essence of a fair

trial that reasonable latitude be given the cross-examiner, even

though he is unable to state to the court what fact a reasonable cross-

examination might develop. . . . To say that prejudice can be

established only by showing that the cross-examination ifpursued,

would necessarily have brought out facts tending to discredit the

testimony in chief is to deny a substantial right and to withdraw one

of the safeguards essential to a fair trial.
ld. at 692 (emphasis added). The Court held that the trial court committed prejudicial error by
"cut[ting] off in limine all inquiry on a subject with respect to which the defense was entitled to a
reasonable cross-examination." ld. at 694.4

The rule applied by the trial court in Mr. Searcy's case and affirmed by the lllinois
Court of Appeals cannot be reconciled withAlford. As a condition for allowing Mr. Searcy's counsel
to question Brooks and Johnson regarding their knowledge of the victim's arrest and his status as an
informant, the trial court required Mr. Searcy's counsel to prove during voir dire that Brooks and
Johnson would admit to knowing those facts. (Ex. 4 at X-84-85, 96-97, 99; Ex. 14 at A-15.)
Affirming the procedure adopted by the trial court, the Appellate Court of lllinois reasoned that the
trial court's refusal to allow the cross-examination after Brooks and lohnson's denials during voir

dire was a permissible exercise of the trial court's discretion to limit inquiry into "speculative" or

"conjectural" matters. (Ex. 5 at 16.)

 

4 As several lower federal courts have noted, Alford establishes a constitutional rule that a
defendant's right to cross-examine a witness for bias may not be conditioned upon the defense's
ability to prove its theory of bias in advance See, e.g., Clark v. O’Leary, 852 F.Zd 999, 1006 (7th
Cir. 1988); Burr v. Sullivan, 618 F.2d 583, 587 (9th Cir. 1980).

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Alford flatly rejects such reasoning UnderAlford, the Supreme Court held that a trial
court violates the Confrontation Clause when it bars defense counsel from conducting appropriate

cross-examination (such as questioning tending to establish the witness' bias) solely on the ground
that the defendant cannot show in advance what facts the cross-examination might reasonably
develop.

This is not to say, however, that the governing Confrontation Clause standards
established by the Supreme Court categorically preclude a trial court from placing any limits upon
defense counsel's inquiry into the potential bias of a prosecution witness. The Supreme Court has
recognized that the Confrontation Clause guarantees "an opportunity for effective cross-examination,
not cross-examination that is effective in whatever way, and to Whatever extent, the defense might
wish." See Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986) (quoting Delaware v. Fensterer, 474
U.S. 15, 20 (1985) (per curiam) (emphasis in original). Accordingly, the Court has ruled that "trial
judges retain wide latitude insofar as the Confrontation Clause is concerned to impose reasonable
limits on . . . cross-examination based upon concerns about, among other things, harassment,
prejudice, confusion of the issues, the witness' safety, or interrogation that is repetitive or only
marginally reievan ." Van Arsdall, 475 U.S. at 679. Applying these standards, some lower federal
courts have upheld a trial court's limitation on cross-examination where the examiner failed to lay
any foundation for the proposed line of inquiry, see e.g., Reddick v. Haws, 120 F.3d 714, 717 (7th
Cir. 1997), United States v. Lin, 101 F.3d 760, 767-68 (D.C. Cir. 1997), or where the prohibited
cross-examination was unduly speculative and the defendant had been permitted to inquire into the
potential bias ofthe witness at issue through some other line of cross-examination See e.g, United

States v. Lo, 231 F.3d 471, 482-83 (9th Cir. 2000); Bui v. DiPaolo, 170 F.Sd 232, 242-46 (lSt Cir.

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1999).5 These considerations do not justify the lllinois Appellate Court’s decision in Mr. Searcy's
case for two reasons.

First, Mr. Searcys counsel proffered a substantial factual predicate for the proposed
line of questioning at issue. Mr. Searcy's theory of Brooks' and Johnson's potential bias was
supported by the affidavit of Officer Washington, the eyewitness testimony of Tonita Mills, and
some of the admissions made by Brooks and Johnson on voir dire. Specifically, defense counsel's
proffer included: (l) Officer Washington's statement that Mr. Bowman implicated Brooks as a drug
dealer; (2) Mills' testimony confirming that Brooks, as well as Johnson, sold drugs in the
neighborhood; (3) the officer's statement that Mr. Bowman had begun to Work out a deal with the
Cbicago Police to implicate Brooks in narcotics dealing; (4) the Officer's statement that Mr. Bowman
accused Brooks of dealing drugs in the presence of J ohnson‘s neighbor, Clinton Boyd; (5) Johnson's
admission that he knew BoydJ and had spoken with him before the murder; (6) Johnson's and Brooks'
admission that they knew Mr. Bowman; and (7) Mills' testimony that she witnessed Brooks murder
Mr. Bowman with Johnson's assistance Takcn together, this evidence suggests that Johnson and
Brooks were drug dealers, that Mr. Bowman was in the process of informing on Brooks at the time
of the murder, and that Brooks and Johnson could have readily learned that fact from Johnson's
neighbor, Boyd. At a minimum, this proffered evidence established a good-faith basis for the line
of questioning which the defense sought to conduct, and demonstrated the relevance of the proposed
questioning By refusing to permit Mr. Searcy's counsel to ask Brooks or Johnson about their

knowledge of Mr. Bowman's informant activities, the trial court did more than merely require Mr.

 

5 Cf. Splunge v. Parke, 160 F.3d 369, 375 (7th Cir. 1998) (holding that the trial court Was
entitled to limit further cross-examination of a State witness as to her expectation of receiving a
benefit from the State in exchange for her testimony after the defense counsel was allowed to ask

the witness in the jury's presence whether she thought she could receive a reward, and she testified
that she didn't know.)

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Searcy to establish a factual predicate for the proposed cross-examination R.ather, it required him
ajj‘irmatively to prove in advance that the questioning would actually elicit the facts that the defense
hoped to establish This is precisely the kind of requirement rej ected by Alford.

Second, unlike the defendants in the lower federal court cases discussed above, Mr.

Searcy was completely precluded from bringing the issue of Johnson and Brooks' bias before the
jury. While Mr. Searcy's attorneys were permitted to impeach Brooks and Johnson through other
means_for example, by questioning them regarding their previous convictions and prior
inconsistent statements_such questioning tended only to undermine Brooks and Johnson's
credibility generally and not to establish their motives to testify falsely against Mr. Searcy. The
questions which Mr. Searcy's attorneys were prevented from asking were the only questions which
had the potential to expose such motives.

II. BY AFFIRMING THE TRIAL COURT'S DECISI()N TO FORECLOSE ALL
CROSS-EXAMINATION TENDING TO ESTABLISH THE BIAS OF CRITICAL
STATE WITNESSES, THE APPELLATE COURT OF ILLINOIS REACHED A
DECISION THAT INVOLVES AN UNREASONABLE APPLICATION OF DA WS
v. ALASKA, DELA WARE v. VANARSDALL, AND OLDEN v. KENTUCKY.

A criminal defendant states a violation of the Conh'ontation Clause "by showing that

he was prohibited from engaging in otherwise appropriate cross-examination designed to show a

prototypical form of bias on the part of the witness. . . ." Van Arsdall, 475 U.S. at 680. A trial court

impermissibly truncates a defendant's cross-examination when it bars him from "expos[ing] to the
jury the facts from Which jurors, as the sole triers of fact and credibility, could appropriately draw
inferences relating to the reliability of the Witness." Davis v. Alaska, 415 U.S. 308, 318. While trial
judges have the discretion to place "reasonable limits" on the scope of cross-examination, see Van

Arsdall, 475 U.S. at 679, such discretion "cannot be expanded to justify a curtailment which keeps

from the jury relevant and important facts bearing on the trustworthiness of crucial testimony."

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Gordon v. United States, 344 U.S. 414, 423 (1953). The defendant must be allowed to question key
prosecution witnesses about their potential biases and motives so that the jury can "make an
informed judgment as to the weight to place on . . . testimony which provide[s] a crucial link in the
proof . . . of [the defendant's alleged] ac ." Davis, 415 U.S. at 317 (intemal quotation omitted).
The Supreme Court repeatedly has invalidated limits placed on the scope of cross-
examination of critical prosecution witnesses When those limits completely foreclosed questioning
tending to establish witness bias. Most notably, in Davis, a defendant sought to cross-examine a
- crucial State witness regarding the fact that the witness was on probation for a juvenile offense The
defense sought to raise this matter not to impeach the witness‘ character generally, but in order to
argue that the witness' fear of possible jeopardy to his probation (and his consequent desire to shift
all suspicion from himself) might have influenced him to incorrectly identify the defendant as the
perpetrator of the crime and to testify against the defendant Relying on a State statute which
prohibited the admission of juvenile adjudications as evidence in court, the trial court barred the
defense from raising the matter of the witness' probationary status during cross-examination The
defendant was convicted, and the Alaska Supreme Court affirmed The Supreme Court reversed,
reasoning that
[w]hile counsel was permitted to ask [the witness] whether he was
biased, counsel was unable to make arecord nom which to argue why
[the witness] might have been biased or otherwise lacked that degree
of impartiality expected of a witness at trial. On the basis of the
limited cross-examination that was permitted, the jury might well
have thought that defense counsel was engaged in a speculative and
baseless line of attack on the credibility of an apparently blameless
witness . . . on these facts it seems clear to us that to make any such
inquiry effective, defense counsel should have been permitted to
expose to the jurythe facts from which jurors . . . could appropriately

draw inferences relating to the reliability of the witness

ld. at 318.

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The Court held that the restrictions imposed by the trial court denied the defendant the right .to
effective cross-examination guaranteed by the Sixth and Fourteenth Amendments. ld. See also Van
Arsdall, 475 U.S. at 679 (holding that "by . . . cutting off all questioning about an event that the State _
conceded had taken place and that a jury might reasonably have found furnished the witness a motive
for favoring the prosecution in his testimony, the court's ruling violated the defendant's rights secured
by the Cout`rontation Clause."); Olden 488 U.S. at 231-33 (holding that the trial court violated the
defendant's Sixth Amendment rights by rehising to allow the defendant to bring out facts from which
jurors might reasonably have inferred that the witness had a motive to concoct false testimony
against the defendant).

Moreover, courts are particularly likely to find a Confrontation Clause violation
where the defendant is wholly precluded from inquiring into the potential bias of the star prosecution
witness whose testimony is virtually the only evidence linking the defendant to the crime. See Davis,
415 U.S. at 317-20; Olden; 488 U.S. at 231-33. Applying Davis and Olden', the Seventh Circuit
recently reversed the district court's denial of habeas relief where the state trial court had refused to
permit the defendant's counsel to cross-examine the key State witness about her motive to fabricate
her testimony against the defendant See Redmond v. Kingston, 240 F.3d 590, 591-93 (7th Cir.
2001).

ln Realmoncl, the defendant was on trial for statutory rape, and the defense counsel
wanted to cross-examine the alleged victim (the principal witness against the defendant) regarding
her having previously concocted a story about being raped by an unidentified man, and later
admitting that she had fabricated the story to get her mother's attention The court rejected the state
courts' conclusion that the prior false charge of forcible rape was cumulative of other evidence

bearing on the alleged victim's credibility, reasoning that "none of the other evidence either involved

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a false charge of being sexually assaulted or furnished a motive for such a charge." Id. at 591.
Moreover, the court stressed that the evidence of the false charge would have "supplied a powerful
reason for disbelieving {the alleged victim's] testimony . . . by showing that she had a motive for
what Would otherwise be an unusual fabrication." Id. at 5 92-93 (citing ch Arsdall, 475 U.S. at 679-
80). Noting that the alleged victim's testimony was "virtually the only evidence of the [defendant's]
guilt that the prosecution had," the court concluded that the alleged victim's credibility was the
"central issue in the case," and held that the state courts had unreasonably applied the Supreme
Court's con&ontation doctrine by precluding cross-examination into the vital issue of the star witness'
motive to lodge a false charge against the defendant Id. at 591-92. See also Wz`lkerson v. Cain, 233
F.3d 886, 890-91 (5th Cir. 2000) (vacating lower court's denial of habeas corpus petition Where a
murder defendant was convicted without physical evidence and where his cross-examination
regarding the bias of the sole purported eyewitness to the crime was improperly lirnited);
McCandless v. Vaughn, 172 F.3d 255, 266 (3d Cir. 1999); United States v.. Fosrer, 986 F.2d 541, 543
(D.C. Cir. 1993); Burr, 618 F.Zd at 586-88; Cf. Tbomas v. Hubbard, 273 F.3d 1164, 1178 (9th Cir.
2002) ("erere a defendant's guilt hinges largely on the testimony of a prosecution's Witness, the
erroneous exclusion of evidence critical to assessing the credibility of that Witness violates the
Constitution."); United State's v. Lynn, 856 F.2d 430, 433 (1 st Cir. 1988).

Under these standards, it is clear that the Il]inois Appellate Court's decision
contravenes the constitutional rule established by Davis, Van Arsdall, and Olden. Several
considerations compel this conclusion First, the proposed cross-examination which Mr. Searcywas
prevented from conducting concerned a "prototypical form ofbias"_narnely, two witness' potential
motivation to testify falsely against him. As noted, a defendant's right to cross-examine adverse

witnesses as to such matters is protected by the Conlrontation Clause. See Davz's, 415 U.S. at 418.

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In addition, the trial court in this case foreclosed all inquiry into the issue of Brooks'
and Johnson's motives to testify falsely against Mr. Searcy. This is not a case where the defense was
given reasonable latitude to bring out these issues through another line of questioning, rendering the
prohibited cross-examination cumulative or superfluous6 Absent the prohibited cross-examination,
Mr. Searcy's attorneys Were forced to conduct a relatively "generic" cross-examination Which focused
on three themes: (l) certain inconsistencies between the witnesses trial testimony and statements
which they had previously made to the police or to the grand jury (Ex. 13 at X-160-68; Ex. l4 at A-
5 9-67); (2) the witnesses‘ prior criminal records (Bx. 13 at X-149; Ex. 14 at A-84-85); and (3) their
delay in reporting Mr. Searcy to the police. (Ex. 143 at X-149-52.) While these_matters impeached
Brooks' and Johnson's credibility generally, none of them suggested a motive for either man to testify
falsely. Therefore, in denying the requested cross-examination, the trial court completely removed _
the issue of Brooks' and Johnson's bias from the jury's consideration, robbing the jury of the ability
to make a fully informed judgment on the issue of Johnson's and Brooks' credibility. -As Davz`s,
Olden, Van Arsdall, and a host of lower court cases (e.g. Redmond) make clear, such a sweeping

restriction on cross-examination violates the Confrontation Clause.Tr Contrary to the lllinois

 

6 See e.g. United States v. DiCaro, 852 F.2d 259, 261-62 (7th Cir. 1988). See generally
United States v. Dombrowski, 877 F.Zd 520, 523-24 (7th Cir. 1989), abrogated On rather grounds
by Taylor v. United States, 495 U.S. 575 (1990.) ("Relatively minor limitations orr cross-
examination do not generally impinge upon sixth amendment rights where the issue counsel sought
to illuminate through cross-examination has been adequately explored elsewhere.")

7 lndeed, the Confrontation Clause violation at issue in this case is even more egregious than
the violation identified in Davis. Not only was Mr. Searcy prevented from "expos[ing] to the jury
facts from which jurors . . . could appropriately draw inferences relating to the reliability of the
witness[es],“ he was denied the opportunity to pose a single question going to the particular bias at
issue. Davis at 318. The Davts defendant was at least allowed to bring the "suggestion" of the
witness' bias to the attention of the jury by asking the witness in the j ury's presence whether he was
uncomfortable that the stolen property was discovered near his house and whether he was ever
Worried that the police might have suspected that he had committed the crime. This enabled the jury
to "observe the witness‘ demeanor and pass on his credibility" while he responded to the examiner's

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Appellate Court's conclusion, such arestriction cannot be justified as a legitimate exercise of the trial
court's discretion

Moreover, when the Illinois Appellate Court's affirmance of the trial court's decision
is considered in light of other factors present in this case, its impropriety becomes even more
apparent First, the cross-examination which l\/lr. Searcy was barred from conducting tended to
establish the bias of the prosecution's star witnesses whose testimony was the only evidence directly
tying Mr. Searcy to the murder. As such, Brooks' and Johnson's credibility was the "central issue"
in the case, Redmond, 240 F.3d at 592; accord Davfs, 415 U.S. at 319; Olden, 488 U.S. at 229, and
Mr. Searcy should have been given the "maximum opportunity" to test their credibility. Barr, 618
F.Zd at 587; accord Redmond, 240 F.3d at 591-92; Mlkerson, 233 F.3d at 891. Mr. Searcy was
denied such an opportunity8

Finally, the prosecution exacerbated the prejudicial impact of the trial court's
restrictions on Mr. Searcy's cross-examination of Brooks and Johnson by repeatedly emphasizing
the credibility of each witness during closing argument, and by expressly drawing attention to Mr.
Searcy's inability to suggest a plausible motive for either witness to lie. As their continual remarks
during closing argument suggest, the centrality of Brooks and Johnson's credibility to the State's case
was not lost on the prosecutors ln addition to making a mantra out of the issue of Brooks' and

Johnson's credibility (proclaiming at one point that Johnson and Brooks were "probably two of the

 

question Id. Mr. Searcy was not given a similar opportunity

3 ln addition, Mr. Searcy's inability to raise the issue of Johnson's and Brooks' bias

effectively emasculated the cross-examination that he was permitted to conduct Without the
prohibited cross-examination, Mr. Searcy was left with no ground upon which to argue that either
witness had a motive to lie, and "on the basis of the limited cross-examination that was permitted,
the jury might well have thought that defense counsel was engaged in a speculative and baseless line
of attack on the credibility of an apparently blameless witness{.]" Davz's, 415 U.S. at 3 l 8; Pl/'ilkerson,
233 F.3d at 891.

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most credible people that will ever come into a courtroom" (Ex. 15 at AA-122), the prosecutors
_ specifically highlighted the defense's inability to call their credibility into question or to suggest a
motive for them to kill Mr. Bowman or to falsely implicate Mr. Searcy. (Ex. 15 at AA-l47-48; 160-
61.) This effectivelybolstered Brooks and Johnson‘s credibility, while compounding the prejudicial
effect of the court's erroneous and unconstitutional preclusion of the cross-examination sought by
Mr. Searcy. Because of the court's error, Mr. Searcy was left with no effective rebuttal to the State's
pacan to Brooks' and lohnson_’s credibility.
III. THE CONFRONTATION CLAUSE VIOLATION WAS NOT HARMLESS.

- On collateral attack, the wrongful curtaihnent a defendant's cross-examination of a
government witness for bias is deemed harmless unless it had "a substantial and injurious effect or
influence in determining the jury's verdict." Splaage, 160 F.3d at 375 (citing Brecht v. Abrahamson,
507 U.S. 619, 638 (1993)). Id. Under this standard, "if one cannot say, with fair assurance, after
pondering all that happened Without stripping the erroneous action from the whole, that the judgment
was not substantially swayed by the error, it is impossible to conclude that substantial rights were
not affected," and therefore that the error was harmless. Kotteakos v. United Srares, 328 U.S. 750,
764-65 (1946). ln other words, if after reviewing the record the court is in " grave doubt about the
likely effect of an error on the jury's verdict"_meaning that the court considers the matter so evenly
balanced that it feels itself "in virtual equipoise as to the harmlessness of the error"_then the court
must treat the error as if it had a substantial or injurious effect upon the verdict O'Neal v.
McAainclz, 513 U.S. 432, 435 (1995).

The unconstitutional denial of Mr. Search right to cross-examine Brooks and
Johnson to show a prototypical form of bias was not harmless. As noted, Brooks' and Johnson's

testimony was indispensible to the prosecution's case. Necessarily, if the damaging potential of

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defense counsel's cross-examination were realized, the testimony of the only two witnesses alleging
that Mr. Searcy shot Mr. Bowman would be discredited, and the jurors would be more likely to
believe Mills' version of events_that the State's witnesses had shot Mr. Bowman instead of Mr.
Searcy.9 See Wilkerson, 233 F.3d at 892 (holding that an improper restriction upon cross-
examination of an alleged eyewitness was not harmless, and justified the granting of habeas relief,
where "the prosecution's case hinged on [the witnesses'] supposed eyewitness account of the
murder," and Where the State's case would therefore be "seriously underrnined" had the defense been
allowed to inquire fully into the witness's motives and had the jury believed that the witness was
biased toward the prosecution); Cf. Redmond, 240 F.3d 591-93. ln addition, as 'noted, the
prosecution compounded the prejudice when it took advantage of the trial court's limitation on cross-
examination by propping up Brooks' and lohnson's credibility in its closing argument through the
inaccurate suggestion that they had withstood defense counsel's best efforts to show their motive to
kill Mr. Bowman. (Ex. 15 at AA-147-48.) Thus, in addition to prejudicially impairing Mr. Searcy's
defense, the court's violation of Mr. Searcy's Confrontation Clause rights gave an artificial boost to
the prosecution's case. Cf. Davis, 415 U.S. at 318 ("[o]n the basis of the limited cross-examination
that was perrnitted, the jury might well have thought that defense counsel was engaged in a
speculative and baseless line of attack on the credibility of an apparently blameless witness"); Van

Arsdall, 475 U.S. at 688 ("[hlaving survived what appeared to be counsel's best efforts to undermine

 

9 lt should be emphasized that Brooks' and Johnson's credibility might well have been
damaged by l\/.[r. Searcy's proposed cross-examination even if they had given the same responses
before the jury that they gave during voir dire, because the jury could have concluded that their
demeanor while testifying indicated a lack of truthfulness This seems particularly likely in Brooks'
case, as Brooks' became visibly agitated when defense counsel probed into his knowledge of Mr.
Bowman's informant activities during voir dire. (Ex. 14 at A-lO.)

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the witness' credibility, [the witness'] testimony necessarily carried more weight with the jury")
(Marshall, J., dissenting).

The Appellate Court of Illinois, not having found a constitutional violation, did not
conduct a harmless error analysis (Ex. 5 at 16-17.)10 However, the prejudicial effect of the trial
court's error is plain enough for this Court to determine, on the record before it, that the error was
not harmless

CONCLUSION

For the foregoing reasons, Mr. Searcy's petition for a writ of habeas corpus should
be granted Moreover, due to the complexity of the issues involved in this case, counsel respectfully
requests oral argument

Respectfully submitted,

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Steven .l. Winger

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Dated: March 25, 2002

 

m The Seventh Circuit has noted that in post-AEDPA cases in which the state court has
conducted a harmless error analysis it is an "open question" whether the federal court must apply the
Brechr harmless error standard or some stricter standard on habeas review. See Deany, 252 F.3d at
905 n.4; Anderson v. Cowan, 227 F.3d 893, 898 n.3 (7th Cir. 2000). However, these cases are
inapplicable here, because the state court did not conduct a harmless error analysis Moreover, given
the centrality of Brooks' and Johnson's credibility to the State's case, the total preclusion of cross-
examination as to their bias cannot be considered harmless under any standard

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; UNITED STATES DISTRICT COURT
- NORTHERN DISTRICT OF ILLINOIS

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Civil Cover Sheet

This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States' 111 September
1974. The data rs required for the use of the Clerk of Court for the purpose of 1nitiating the civil docket sheet. The infonnation
contained herein neither replaces nor supplements the filing and service ofpleadings or other papers as required by law. This form rs
authorized for useo onl in the Northern District of lllinois.

 

Defendant(s): Mark A. Pierson, Warden,w§

  

 

Planrtlff(s): Derrrck Searcy Correctional Centel_ ?:§[
County ofResidence: 17095 County of Residence 17095 50
Plaintiff's Atty: John F. Ward, Jr. Defendant's At()ty:2 x §§ M 03 __
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II. Basis of Jurisdiction: 3. Federal Question (U.S. not a party)

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Parties (Diversity Cases Only) _,
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Defendant:- NlA

IV. Origin : 1. Original Proceeding
V. Nature of Suit: 530 Habeas Corpus General
VI.Cause ofAction: 28: 2254 (state) Petition for Habeas Corpus

Vll. Requested in Complaint
Class Action: No
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V]]I. This case IS NOT a refiling of a previously dismissed case- ::;i§_€

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UNITED STATES DISTRICT COURT
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